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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Prinzo & Associates, LLC
                                        Plaintiff,
v.                                                         Case No.: 1:20−cv−03256
                                                           Honorable Gary Feinerman
BMO Harris Bank, N.A., et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, July 23, 2020:


         MINUTE entry before the Honorable Gary Feinerman:Attorneys/Parties should
appear for the 8/3/2020 status hearing by calling the Toll−Free Number: (877) 336−1828,
Access Code: 4082461. Members of the public and media will be able to call in to listen
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court issued media credentials, restricted entry to future hearings, denial of entry to future
hearings, or any other sanctions deemed necessary by the Court. Mailed notice.(jlj, )




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